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                          UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS
                                 AUSTIN DIVISION
Students for Justice in Palestine, at the           §
University of Houston,et al                         §
                                                    §     NO: AU:24-CV-00523-RP
vs.                                                 §
                                                    §
Greg Abbott

                           ORDER RESETTING TIME FOR HEARING


                The Court hereby resets and directs the parties, or counsel acting on their behalf, to
        appear by phone for a telephone conference on July 17, 2024 at 02:00 PM (TIME
        CHANGE ONLY). The parties are directed to use the below dial-in information:
                **Please call in 5 minutes prior to start of hearing.**
                1. Toll free number: 888-363-4735
                2. Access code: 3948919
        If there are questions regarding the telephonic appearance, the parties should contact Julie
Golden, Courtroom Deputy, at julie_golden@txwd.uscourts.gov.


        The use of speaker phones is prohibited during a telephonic appearance. Additionally,
because earlier hearings in other cases may be in progress at the time attorneys call in for their
scheduled conference, attorneys should call in with their phones on “mute” and wait for the
Courtroom Deputy to call this case before they speak.

                SIGNED on 17th day of July, 2024.



                                                        ______________________________
                                                        ROBERT PITMAN
                                                        UNITED STATES DISTRICT JUDGE
